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A O 399 (01/09) Waiver of the Service of Summons



                                                          UNITED STATES DISTRICT COURT
                                                                                                              for the
                                                                                     Southern District of N e w Y o r k


          U . S . Securities a n d Exchange Commission
                                              Plaintiff

                                                                                                                             Civil Action No 7.17-CV-4179
                        Algine Securities Corporation
                                            Defendant



                                                                    W A I V E R O F T H E S E R V I C E O F SUMMONS


To:        Gregory A Kasper, E s q .
                    (Name of the plaintiff's              attorney or unrepresented                  plaintiff)



        I have received your request to w a i v e service of a summons in this action along with a copy o f the complaint,
two copies o f this waiver form, and a prepaid means o f returning one signed copy o f the form to you.

                I , or the entity I represent, agree to save the expense o f serving a summons and complaint in this case.

         1 understand that I , or the entity I represent, w i l l keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue o f the action, but that I waive any objections to the absence o f a summons or of service.

        I also understand that 1, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             06/05/2017               , the date when this request was sent (or 90 days i f it was sent outside the
United States). I f I fail to do so, a default judgment w i l l be entered against me or the entity I represent.


Date:          6/13/17
                                                                                                                                             Signature        of the attorney or unrepresented                     party


                        Algine Securities Corporation                                                                                                            Mark L Smith, E s q .
           Printed      name of party waiving service                    of summons                                                                                      Printed       name

                                                                                                                                                            Smith Correll, L L P
                                                                                                                                                    11766 Wilshire Blvd., Suite 1670
                                                                                                                                                        L o s Angeles. C A 90025
                                                                                                                                                                             Address

                                                                                                                                                    msmith@smithcorrell.com
                                                                                                                                                                        E-mail       address


                                                                                                                                                                    (213)443-6222
                                                                                                                                                                     Telephone          number


                                                                  D u t y to A v o i d U n n e c e s s a r y E x p e n s e s o f S e r v i n g a S u m m o n s

                 R u l e 4 o f the F e d e r a l R u l e s o f C i v i l P r o c e d u r e r e q u i r e s c e r t a i n de fendants to cooperate i n s a v i n g u n n e c e s s a r y e x p e n s e s o f s e r v i n g a s u m m o n s
a n d c o m p l a i n t . A defendant w h o is located i n the U n i t e d States a n d w h o f a i l s to return a signed w a i v e r o f s e r v i c e requested by a p l a i n t i f f located i n
t h e U n i t e d States w i l l b e r e q u i r e d to pay t h e e x p e n s e s o f s e r v i c e , u n l e s s t h e defendant s h o w s g o o d c a u s e f o r t h e f a i l u r e .

                 " G o o d c a u s e " d o e s not i n c l u d e a b e l i e f that the l a w s u i t i s g r o u n d l e s s , o r that it h a s been b r o u g h t i n an i m p r o p e r v e n u e , o r that the court has
no j u r i s d i c t i o n o v e r t h i s matter or o v e r t h e defendant o r the d e f e n d a n t ' s property

             I f the w a i v e r i s signed a n d returned, y o u c a n s t i l l m a k e these a n d a l l other defenses a n d o b j e c t i o n s , but y o u cannot object to the absence o f
a s u m m o n s or o f service.


             I f y o u w a i v e s e r v i c e , t h e n y o u m u s t , w i t h i n the t i m e s p e c i f i e d o n the w a i v e r f o r m , s e r v e a n a n s w e r or a m o t i o n under R u l e 12 o n the p l a i n t i f f
a n d file a c o p y w i t h t h e court. B y s i g n i n g and r e t u r n i n g the w a i v e r form, y o u are a l l o w e d m o r e time to r e s p o n d t h a n i f a s u m m o n s h a d been s e r v e d .
